             Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 1 of 6




FILED
By: Clerk’s Office, Southern District of Iowa
2:05 pm, Sep 18 2024
Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 2 of 6
Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 3 of 6
Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 4 of 6
Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 5 of 6
Case 4:24-mj-00472-WPK Document 1-1 Filed 09/18/24 Page 6 of 6
